For

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U.S. Department of Justice
Federal Bureau of Prisons
South Central Regional Office

U.S. Armed Forces Reserve Complex
344 Marine Forces Drive
Grand Prairie, TX 75051

March 30, ° 2023

Randall L. Kallinen

Kallinen Law PLLC

Attorneys & Counselor at Law
511 Broadway Street

Houston, Texas 77012

Re: Administrative Tort Claim - TRT-SCR-2023-04160
Your Client - Maribel Santana Cerano
Registration Number — 99877-479

Mr. Kallinen:

This acknowledges our receipt of your claim dated November 3,
2022, filed on behalf of your client, Maribel Santana Cerano
pursuant to the Federal Tort Claims Act. The Federal Bureau of
Prisons deemed your claim received for processing on December I,
2022

Claims processed pursuant to the Federal Tort Claims Act
normally receive a response within six months. Accordingly, you
may expect a response from this office on or before June 11,
2023 .

In order for us to continue communicating with you regarding
this claim, please supply us with a copy of your authority to

represent signed by Ms. Santana Cerano.

Please note it is your responsibility to keep us updated with
your correct current address.

Sincerely,

FLAS
JaBon A. Sickler
Regional Counsel

JAS/4jdb
